
The People of the State of New York, Respondent, 
againstScott Gomes, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (John J. DeLury, J.H.O.), rendered April 25, 2017, convicting him, upon a plea of guilty, of violating Public Health Law § 229, and imposing sentence.




Per Curiam.
Judgment of conviction (John J. DeLury, J.H.O.), rendered April 25, 2017, reversed, on the law, accusatory instrument dismissed, and fine, if paid, remitted. 
The record fails to support the conclusion that defendant's guilty plea was knowing, intelligent and voluntary, because the court accepted the plea without addressing any of the constitutional rights defendant was waiving, and there are not sufficient circumstances reflecting his consultation with counsel (see People v Conceicao, 26 NY3d 375, 383-85 [2015]; People v Tyrell, 22 NY3d 359, 365-366 [2013]). Given the relatively minor nature of the offense here charged, we dismiss the accusatory instrument in lieu of remanding the matter (see People v Burwell, 53 NY2d 849, 851 [1981]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 13, 2019










